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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 21-254V
                                          UNPUBLISHED


    ALEXANDRA SIMELS,                                           Chief Special Master Corcoran

                          Petitioner,                           Filed: August 15, 2022
    v.
                                                                Voluntary dismissal; Order
    SECRETARY OF HEALTH AND                                     concluding proceedings
    HUMAN SERVICES,

                         Respondent.



                             ORDER CONCLUDING PROCEEDINGS1

       On January 7, 2021, Alexandra Simels filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa—10 through
34.2 Petitioner alleged that she suffered an injury from the influenza vaccination she
received on September 22, 2020. ECF No. 1. On August 12, 2022, Petitioner filed a
notice of voluntary dismissal.

      In light of Petitioner’s “notice of dismissal at any time before service of
respondent’s report” pursuant to Vaccine Rule 21(a)(1)(A), this case is dismissed
without prejudice. Accordingly, this Order hereby notifies the Clerk of Court that
proceedings “on the merits” of this petition are now concluded, but no judgment
“on the merits” should be entered by the Clerk’s Office.

IT IS SO ORDERED.

                                                     s/Brian H. Corcoran
                                                     Brian H. Corcoran
                                                     Chief Special Master




1 Although I have not formally designated this Order for publication, I am required to post it on the United
States Court of Federal Claims' website because it contains a reasoned explanation for the action in this
case, in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Order will be available
to anyone with access to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, I agree that the identified material fits within this definition,
I will redact such material from public access.

2   National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
